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                                 UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                                www.flsb.uscourts.gov
                                                    CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                                 Original Plan
                                                                       Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                         ■   1st                                       Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: MARIA A KAI                                         JOINT DEBTOR:                                       CASE NO.: 16-26064-EPK
SS#: xxx-xx- 8423                                              SS#: xxx-xx-
I.          NOTICES
            To Debtors:            Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                   and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                   Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                   filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                   be reduced, modified or eliminated.
            To All Parties:        The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                   box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                     Included            ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                     Included            ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                ■   Included                Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $263.86                   for months   1   to 14 ;

                   2.   $99.00                    for months 15 to 56 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                                   NONE     PRO BONO
        Total Fees:                $4700.00              Total Paid:             $280.00           Balance Due:           $4420.00
        Payable              $253.86          /month (Months 1         to 14 )
        Payable              $80.00           /month (Months 15 to 24 )
        Payable              $66.01           /month (Months 25 to 25 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3,500.00 Attorney Fee, $150.00 in fees, $500.00 Motion to pay interest, $25.00 in costs, $500.00 Motion to Modify, $25.00 in costs

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                ■    NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
            B. VALUATION OF COLLATERAL: ■ NONE
            C. LIEN AVOIDANCE                 ■   NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                        NONE

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                           The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                           request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
                           personam as to any codebtor(s) as to these creditors.
                           Other:
                           Name of CreditorLast 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                           Chase           3900                          2015 Nissan Altima 25,000 miles
                 1.                                                      VIN# 1N4AL3APXFN895555
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                       ■   NONE
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                        ■   NONE
            B. INTERNAL REVENUE SERVICE:                             NONE
              Total Due:                   $2,591.33             Total Payment                 $2,863.20
               Payable:                 $10.00         /month (Months 15          to 24 )
               Payable:                 $23.99         /month (Months 25          to 25 )
               Payable:                 $90.00         /month (Months 26          to 55 )
               Payable:                 $39.21         /month (Months 56          to 56 )
            C. DOMESTIC SUPPORT OBLIGATION(S):                            ■    NONE
            D. OTHER:               ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay               $50.79       /month (Months 56            to 56 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.          If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                     ■    NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                           ■   NONE
VIII.       NON-STANDARD PLAN PROVISIONS                 NONE
              Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                  IRS will be paid 4% as per Court Order

                 Debtor will treat creditor, _OCWEN , directly outside the plan by either selling, refinancing, curing,
                 applying for loan modification or defending against any foreclosure action with any possible defenses
                 available.

                 In the event of any of the aforesaid remedies occurring, debtor will modify the plan accordingly.

                 Debtor further agrees to relief from the stay for the creditor, OCWEN , as debtor is not treated the
                 creditor in the Chapter 13 plan.



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                 Debtor will treat creditor, FAIRFIELD LAKE CONDO , directly outside the plan by either selling,
                 refinancing, curing, applying for loan modification or defending against any foreclosure action with
                 any possible defenses available.

                 In the event of any of the aforesaid remedies occurring, debtor will modify the plan accordingly.

                 Debtor further agrees to relief from the stay for the creditor, FAIRFIELD LAKE CONDO , as debtor is
                 not treated the creditor in the Chapter 13 plan.



                  Mortgage Modification Mediation


                       PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


 /s/MARIA A KAI                         Debtor      February 2, 2018                                  Joint Debtor
  MARIA A KAI                                              Date                                                             Date




    Attorney with permission to sign on                  Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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